Case No. 1:23-cv-02057-GPG-SBP Document 1-3 filed 08/14/23 USDC Colorado pg 1 of
                                     23




                                                           EXHIBIT
                                                               3
Case No. 1:23-cv-02057-GPG-SBP Document 1-3 filed 08/14/23 USDC Colorado pg 2 of
                                     23
Case No. 1:23-cv-02057-GPG-SBP Document 1-3 filed 08/14/23 USDC Colorado pg 3 of
                                     23
Case No. 1:23-cv-02057-GPG-SBP Document 1-3 filed 08/14/23 USDC Colorado pg 4 of
                                     23
Case No. 1:23-cv-02057-GPG-SBP Document 1-3 filed 08/14/23 USDC Colorado pg 5 of
                                     23
Case No. 1:23-cv-02057-GPG-SBP Document 1-3 filed 08/14/23 USDC Colorado pg 6 of
                                     23
Case No. 1:23-cv-02057-GPG-SBP Document 1-3 filed 08/14/23 USDC Colorado pg 7 of
                                     23
Case No. 1:23-cv-02057-GPG-SBP Document 1-3 filed 08/14/23 USDC Colorado pg 8 of
                                     23
Case No. 1:23-cv-02057-GPG-SBP Document 1-3 filed 08/14/23 USDC Colorado pg 9 of
                                     23
Case No. 1:23-cv-02057-GPG-SBP Document 1-3 filed 08/14/23 USDC Colorado pg 10 of
                                     23
Case No. 1:23-cv-02057-GPG-SBP Document 1-3 filed 08/14/23 USDC Colorado pg 11 of
                                     23
Case No. 1:23-cv-02057-GPG-SBP Document 1-3 filed 08/14/23 USDC Colorado pg 12 of
                                     23
Case No. 1:23-cv-02057-GPG-SBP Document 1-3 filed 08/14/23 USDC Colorado pg 13 of
                                     23
Case No. 1:23-cv-02057-GPG-SBP Document 1-3 filed 08/14/23 USDC Colorado pg 14 of
                                     23
Case No. 1:23-cv-02057-GPG-SBP Document 1-3 filed 08/14/23 USDC Colorado pg 15 of
                                     23
Case No. 1:23-cv-02057-GPG-SBP Document 1-3 filed 08/14/23 USDC Colorado pg 16 of
                                     23
Case No. 1:23-cv-02057-GPG-SBP Document 1-3 filed 08/14/23 USDC Colorado pg 17 of
                                     23
Case No. 1:23-cv-02057-GPG-SBP Document 1-3 filed 08/14/23 USDC Colorado pg 18 of
                                     23
Case No. 1:23-cv-02057-GPG-SBP Document 1-3 filed 08/14/23 USDC Colorado pg 19 of
                                     23
Case No. 1:23-cv-02057-GPG-SBP Document 1-3 filed 08/14/23 USDC Colorado pg 20 of
                                     23
Case No. 1:23-cv-02057-GPG-SBP Document 1-3 filed 08/14/23 USDC Colorado pg 21 of
                                     23
Case No. 1:23-cv-02057-GPG-SBP Document 1-3 filed 08/14/23 USDC Colorado pg 22 of
                                     23
Case No. 1:23-cv-02057-GPG-SBP Document 1-3 filed 08/14/23 USDC Colorado pg 23 of
                                     23
